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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL DARDASHTIAN, individually and

on behalf of COOPER SQUARE VENTURES, ' 7
LLC, NDAP, LLC and CHANNELREPLY, LLC Lh cw. BE )

Plaintiffs,
-against-

DAVID GITMAN, JEREMY FALK, SUMMIT VERIFIED COMPLAINT
ROCK HOLDINGS, LLC, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC, KONSTANTYN
BAGAEV, OLESKSII GLUKHAREYV and
CHANNEL REPLY, INC.,
Defendants.
x

 

Plaintiffs, Michael Dardashtian (“Dardashtian” residing at P.O. Box 222055, Great Neck,
NY 11022), individually and on behalf of Cooper Square Ventures, LLC (“Cooper Square
Ventures” or “CSV” and having a principal place of business located at 129 W. 29" Street, New
York, NY), NDAP, LLC, a wholly owned subsidiary of CSV and Channel Reply, LLC a wholly
owned subsidiary of CSV, by way of Verified Complaint against the Defendants hereby state as

follows:

PARTIES

1. Cooper Square, founded in 2011, is a software technology limited liability
company specializing in e-commerce (with an emphasis on large catalogs), software as a service,
software creation and innovation and technology consulting services.

2. Pursuant to CSV’s operating agreement, Plaintiff Dardashtian and Defendant
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David Gitman (“Gitman”) are the sole members of CSV, each owning an equal 50%
membership interest and profit percentage of CSV, and both serve as co-managers responsible
for its daily operations.

3. To date, CSV has generated in excess of $10 million dollars of revenue and owns
and operates multiple subsidiary companies specializing in different technology-related services.

4. ChannelReply is an online product owned by CSV and is a software service

Solution falling under software as a service or “SaaS” created and owned by CSV to
facilitate the messaging of eBay and Amazon store owners’ respective communications to their
customers and potential customers throughout the United States of America and worldwide.

5. For instance, nationally known, prominent companies pay a monthly subscription
fee to ChannelReply in order to integrate their eBay and Amazon store messages to allow a free-
flowing, streamlined and efficient customer service response time and order management tool for
communicating with customers.

6. CSV’s proprietary and confidential ChannelReply software was created by
freelance subcontractors of CSV as a work for hire and such confidential software is owned by
and exclusively the proprietary and intellectual property of CSV.

7. The Plaintiff CSV’s ChannelReply service has current revenue exceeding
$30,000 per month and has more than 200 customers worldwide.

8. ChannelReply, LLC is a limited liability company formed under the laws of New
York and registered with the New York Secretary of State on June 9, 2016. Notification of same
was published beginning June 17, 2016. ChannelReply LLC was formed two days after
Defendant Gitman and Plaintiff Dardashtian discussed, on June 7, 2016 creating a separate LLC

for “Channel Reply” so that CSV could transfer the service and its accompanying assets to a
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“ChannelReply” subsidiary company. After years of development and customer acquisition, the
service, had grown to generate a revenue base that would allow the company to run on its

own. In their June 7, 2016 discussion, Defendant Gitman agreed with Plaintiff Dardashtian’s
suggestion to form ChannelReply LLC. On September 6, 2016, Dardashtian acquired an EIN for
Channel Reply, LLC and on October 5, 2016, Plaintiff Dardashtian sent Defendant Gitman an
operating agreement drawn up by CSV’s attorney Jeffrey Rothman for ChannelReply, LLC
which Defendant said he would sign. Defendant never returned an executed version of the

ChannelReply, LLC operating agreement thereby obstructing Dardashtian from opening a bank

 

account for their new subsidiary. Plaintiff's Affidavit, Exhibits 13(a), 13(b), 14, 15, 16, 18,
19(a) and 19(b).

9. NDAP, LLC is also a wholly owned subsidiary of CSV that was engaged in the
online sale of automobile parts to customers throughout the United States of America and
worldwide.

10. CSV is currently attempting to sell NDAP, LLC’s proprietary technology assets
and business to a potential purchaser identified herein as XYX Corp!, an entity located in another
state.

11. Defendant Jeremy Falk, individually, is a principal and member of Defendant
Summit Rock Holdings, LLC (“Summit Rock”). Falk and Summit Rock, respectively, are
serving as a broker and consultant for CSV and NDAP as to the sale to XYZ Corp. Thereby,
Falk and Summit Rock owe a fiduciary duty of loyalty to Dardashtian and CSV, respectively, as
well as other certain contractual obligations to CSV pursuant to a March 3, 2017 Services

Agreement, which is attached to Plaintiff's Affidavit (“Plaintiff's Aff’) Exhibit 25.

 

' XYZ Corp. is herein used as there may be a confidentiality agreement as to this potential sale which may include
the identity of the purchaser.
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12. Accel Commerce, LLC (“Accel Commerce”) is a Delaware company engaging in
business activities in the State of New York within the jurisdiction of this Court. Accel
Commerce is an e-commerce company, which was unbeknownst to Plaintiff Dardashtian at the
time, formed by Defendant Falk and Defendant Gitman to compete with Plaintiff CSV and
Plaintiff ChannelReply in the electronic commerce industry.

13. Accel Commerce was formed in March, 2017, without the knowledge or
authorization of Plaintiff Dardashtian, and upon information and belief, has been using Plaintiff
CSV’s assets, such as personnel, funds, and proprietary information to compete against Plaintiff
CSV and Plaintiff ChannelReply in the e-commerce industry.

14. Defendant Channel Reply, Inc. (which is a separate and distinct entity than
Plaintiff “ChannelReply”) is an entity formed by Defendant Gitman, without the knowledge or
authorization of Plaintiff Dardashtian, which also engages in electronic commerce. To
distinguish between the two, the Plaintiff ChannelReply, LLC owned by CSV will be referred to
as “Plaintiff ChannelReply” and Defendant Channel Reply, Inc., which was formed by Gitman to
compete against Plaintiffs ChannelReply and CSV in the ecommerce industry, will be referred to
as Defendant Channel Reply, Inc.

15. Defendant Channel Reply, Inc. is unlawfully utilizing the assets of Plaintiffs CSV
and Plaintiff ChannelReply, such as personnel, monetary funds, confidential and proprietary
information, and their trade secrets to unfairly compete against Plaintiffs CSV and Plaintiff
ChannelReply.

16. As Plaintiff Dardashtian is a 50% member of Plaintiff CSV, Plaintiff
ChannelReply and Plaintiff NDAP, and therefore without the ability to authorize Plaintiff CSV,

Plaintiff Channel Reply, and Plaintiff NDAP respectively, to file suit, Plaintiff Dardashtian
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brings such action on behalf of himself, individually, and on behalf of Plaintiff CSV, Plaintiff
ChannelReply and Plaintiff NDAP for damages suffered by such entities as a result of
Defendants’ actions.

17.  Konstantyn Bagaev (“Bagaev’”) and Olesksii Glukharev (“Glukharev”) are
independent contractors retained by CSV and NDAP to serve as software developers for CSV
and its ChannelReply software programs which they developed as the exclusive proprietary
property and trade secrets of CSV and Plaintiff ChannelReply. Bagaev and Glukharev have
assisted and been solicited by Defendant Gitman to participate in various unlawful acts as
alleged herein.

JURISDICTION AND VENUE

18. This action arises under the Defend Trade Secrets Act of 2016, 18 U.S.C. §1836,
as amended, and New York law. This Court has jurisdiction pursuant to 28 USC §1331 over
Plaintiffs’ federal-based claims (18 USC 1030 and 15 USC 1125).

19. This Court has supplemental jurisdiction pursuant to 28 USC §1367 over
Plaintiff's State-based claims.

20. Venue is proper in this Court pursuant to 28 USC §1391(b) as all parties reside
within this jurisdiction of this Court or regularly conduct business within this Court’s
jurisdiction.

21. Additionally, CSV’s operating agreement provides a choice of forum and venue

selection clause in favor of this Court for any disputes arising out of CSV’s operations.
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FACTS COMMON TO ALL COUNTS
FALK AND SUMMIT ROCK’S “CONSULTING FEE”

22. In February, 2017 and March, 2017 Defendants Gitman and Falk began
pressuring Plaintiff Dardashtian to sign an agreement to pay Falk a flat fee for his “consulting
work” related to finalizing a deal with XYZ Corp., which Plaintiff Dardashtian had initially
procured himself. Falk’s fee was not only grossly above industry standard but his contract falsely
stated that he had been working solely on NDAP’s sale transaction for more than a'year when he
had only been involved for a number of months. Falk would not reveal a deal offer to Plaintiff
Dardashtian until he signed his agreement and refused to accept a reasonable percentage of the
sale price, as is customary. In mid-May, 2017 Dardashtian again raised concerns and objections
about Falk’s and Summit Rock’s compensation under the Summit Rock-CSV Services
Agreement dated March 3, 2017 regarding the sale of NDAP, LLC to XYZ Corp. (“Summit
Rock Service Agreement”) as both, Falk and Gitman were pressuring him to agree to pay Falk,
who Dardashtian later learned to be Gitman’s secret business partner in Accel Commerce, a
competing business, a greater “consultant” fee.

23. The Summit Rock Service Agreement provided that Summit Rock, Falk’s
company, would be paid $110,000.00 plus .0025% of the eventual purchase price of the sale of
NDAP, LLC.

24. Once the purchase price, however, was determined just one day after the
execution of the Summit Rock Services Agreement it became clear to Dardashtian that the
purchase price would not satisfy the a) outstanding debt of NDAP, LLC, b) other outstanding
financial obligations; c) closing costs; and d) would not yield an acceptable profit to either

Defendant Gitman or Plaintiff Dardashtian.
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25. Thereafter on March 15, 2017, Falk and Summit Rock agreed to lower their fee,
at the behest of Defendant Gitman, to $80,000.00 in total which was acceptable to Dardashtian
and Defendant Gitman and all agreed via email to this number.

26. However, on or about May 17, 2017, before the closing of the NDAP, LLC-XYZ
Corp. transaction, and before the final necessary closing documents were signed and approved
by Dardashtian, Falk and Gitman both demanded that Falk receive $100,000.00 as a fee rather
than the agreed upon $80,000.00.

27. Gitman also demanded that he receive a greater portion of the profits of such sale
than Dardashtian. Specifically, Gitman demanded distributions be paid out to an employee that
he had made unauthorized promises too, and that after all obligations were paid out, he would
recieve a 70-30 split of the remaining profits in his favor despite the CSV operating agreement
requiring Dardashtian and Gitman to split profits 50-50. After many negotiations, Dardashtian
started offering concessions to try to satisfy Defendant Gitman and achieve the sale but
Defendant Gitman’s demands only began to greedily grow. Defendant Gitman soon began
demanding higher distributions to compensate him for his work prior to the sale but did not want
to pay Dardashtian for his work prior to the sale. Defendant Gitman also wanted to chargeback
hours against Dardashtian’s profit percentage in the event that he had to work for the purchasing
company, even though the purchasing company had agreed to pay him a generous hourly rate.
He expressed that he was worth more than three times what purchasing company would pay him
and that Dardashtian should foot the bill. Defendant Gitman also began demanding the company
pay for repetitive accountings after he had hired and fired multiple accountants because he had
“suspicions” that he wanted to investigate. Accordingly, Dardashtian, on behalf of CSV and

NDAP communicated to Defendant Gitman that he would not meet his unreasonable demands
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and that he would not proceed to sign and finalize the necessary closing documents for the
transaction absent an agreement that he receive a fair profit percentage pursuant to NDAP and

CSV’s operating agreements.

DEFENDANTS’ RESPECTIVE MISAPPROPRIATION AND CONVERSION OF CSV’S
ASSETS

28. As of May 26, 2017, CSV’s Bank of America bank account had an account

balance of $73,982.53. Plaintiff's Aff. Exhibit 59.

 

29. Gitman and Dardashtian had agreed in October, 2011 that such banking account
would be used to fund the operations of ChannelReply, NDAP, LLC and other operations under
the CSV portfolio.

30. On the morning of Saturday May 27, 2017, at the start of Memorial Day long-
holiday weekend and knowing the bank would not be open again until that following Tuesday,
and with no notice whatsoever to Dardashtian, Defendant Gitman depleted CSV’s bank account,
which funds several of CSV’s subsidiary companies, and its Plaintiff ChannelReply service

operations.

31. The timing of Gitman’s unlawful draining and siphoning of CSV’s bank account
coincides with Dardashtian’s refusal to agree to 1) pay Falk a greater consultant fee for the
NDAP sale to XYZ Corp. and 2) meet a multitude of unreasonable and unfair demands for
different levels of payment to Gitman in a disproportionate profit share that could have,
according to one of Falk’s proposals, diluted Dardashtian down to zero, or in one of Defendant
Gitman’s distribution proposals, resulted in Dardashtian owing the company money and
therefore Defendant Gitman money, post-sale.

32.  Dardashtian received a mobile notification that all available cash in CSV’s

account had been withdrawn. CSV’s online account information, as viewed on Dardashtian’s
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mobile device, showed two wire transfers: $50,000 and $23,982.53 bringing the account balance
down to under $25.00. Plaintiff's Aff. Exhibit 59 and Exhibit 60.

33.  Dardashtian immediately called the bank and was told that Gitman had withdrawn
all of the money.

34. On May 27, 2017, at around 4:30pm Dardashtian received an email from Gitman
admitting that he withdrew all of the funds from the CSV Bank of America account and that, he,
unilaterally, will be making decisions on behalf of CSV despite the requirement under the CSV
operating agreement requiring a 50-50 management of CSV. Gitman also essentially threatened
Dardashtian to sign a purchase agreement, on his terms, for the NDAP, LLC sale to XYZ Corp.,
which is being “brokered” by Falk and Summit Rock.

35. By 2:11 pm on Sunday May 28, 2017, CSV’s account balance was overdrawn by
negative $10.89. CSV’s bank account not only collects revenue in the form of monthly service
fees from customers, but it also funds the operation of the ChannelReply service.

36. | On8:01 pm on Monday May 29, 2017, the CSV bank account was overdrawn by

$229.40 due to preexisting auto debits to pay for services essential to operate
ChannelReply. Plaintiff Aff. Exhibit 67.

37. On May 31, 2017, Defendant Gitman unilaterally began increasing CSV’s debt by
using CSV’s depleted bank account and credit card. Gitman paid an invoice to a ChannelReply
worker from CSV's overdrawn bank account for $218.51 further driving the account into
overdrawn status. The accompanying invoice indicates the charge comes from Defendant Gitman
and lists his personal home address in Brooklyn, New York. Defendant Gitman also charged a

lease payment for his BMW car to further overdraw the company account.
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38. On June 2, 2017, Defendant Gitman charged $3,500 to amazon web services
using NDAP's American Express credit card, thereby driving up CSV's debt to over $7,000.00 in
addition to his emptying its bank account which is used to pay that same company credit card.

39. Such actions by Defendant Gitman have frustrated and prevented Dardashtian
from paying the jointly-held business credit card in each of Gitman’s and Dardashtian’s names.
As Defendant Gitman then locked Dardashtian out of CSV’s amazon web services account by
changing the password, Dardashtian cannot even see what the charge is or the purpose of it.

40.  Auto-debits have been prescheduled to pay for Plaintiff CSV’s ChannelReply
servers, employees and other digital portals that help service CSV and ChannelReply.

41. There is presently no money in CSV’s account due to Defendant Gitman’s
actions, and thus, CSV’s contractual obligations are not being paid and the account continues to
be overdrawn. Mobile screenshot of overdrawn account is annexed to Plaintiff's Aff. Exhibit
“65.”

42. This will quickly lead to the shut-down of CSV and its service, ChannelReply,
which is presently servicing subscriptions held by more than two hundred worldwide customers.
These business relationships took years to build and are not only a source of monthly revenue but
are invaluable assets to CSV and Dardashtian, as a businessman, 50% owner and co-manager of
CSV. The loss of these customers would cause irreparable harm to Dardashtian, Plaintiff
ChannelReply, CSV and its other businesses.

43. | Defendant Gitman’s actions can also cause CSV and Plaintiff ChannelReply’s
third-party customers to lose or damage relationships with their own customers, if they cannot
service them properly, and is also causing harm to their customer service capabilities in that

Dardashtian cannot help them with customer issues. Defendant Gitman has redirected customer

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support emails to himself by absconding with Dardashtian’s business email address bearing
Dardashtian’s name, but has no experience with customer service and has not indicated whether
he is providing any or even responding when customers, partners and vendors email
Dardashtian’s business address. Defendant Gitman also placed his face on Dardashtian’s

business email to pose as Dardashtian.

GITMAN’S UNLAWFUL FORMATION OF COMPETING BUSINESSES- ACCEL
COMMERCE AND DEFENDANT CHANNEL REPLY, INC,

Accel Commerce

44, Dardashtian and Gitman are the sole members of CSV, each owning an equal
50% membership interest of CSV and both serve as co-managers responsible for its daily
operations.

45. | CSV’s operating agreement does provide for either of its members, Dardashtian
or Gitman, to form and operate a competing business to that of CSV, but not to take CSV’s
actual business. The “outside activities” clause, as it is generally known, is preempted to operate
only “except as provided otherwise herein,” meaning it should not conflict with or defeat other
obligations in the agreement but rather complement them and subordinate to the overriding goals
and purposes of the operating agreement. As such, Article 12 of the operating agreement very
clearly, expressly and specifically prohibits either member to use CSV’s confidential and
proprietary information such as financial information/data, business plans, marketing or sales
plans, trade secrets, computer programs, processes, data, designs, compilations, policies,
procedures, sales know how or anything that is considered to be proprietary to CSV (“CSV’s
Confidential Information”) for their own use or that of any competing business opportunity. The

operating agreement also expressly forbids management from expending or using company

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money or property other than on the account and for the benefit of the Company or to pledge any
of the Company’s credit or property for other than Company purposes. Plaintiff's Aff. Exhibit 1,
Article 12.

46. However, Dardashtian in late April 2017, learned that Gitman formed Defendant
Accel Commerce with Falk. Accel Commerce is a competitor of CSV and Plaintiff
ChannelReply in the e-commerce industry.

47. Specifically, Dardashtian logged into CSV’s “Upwork” account, owned by CSV,
which takes screen shots of employees while they do computer work for CSV on CSV
computers, to track their work product and time worked.

48.  Dardashtian saw screenshots, of the bookkeeper Gitman had hired, Mary Faith
Anden (“Anden”), working on the books of Accel Commerce. Dardashtian also saw
correspondence between Anden and Defendant Gitman discussing Gitman’s business partnership
with Falk, including their P&L and later discovered business cards created by an Upwork
graphic designer for Accel, naming Defendants Gitman and Falk as “managing partners” of
Accel.

49. Dardashtian also was surprised that Gitman and Falk were using CSV’s Upwork
account in relation to the affairs of their new side business, Accel Commerce. Dardashtian
learned that Accel Commerce was formed in March 20, 2017, less than two weeks after Falk and
Defendant Gitman had pressured Dardashtian into signing Falk’s services agreement and prior
to the sale of NDAP to XYZ Corp. During this time through the present, Falk was and is
“acting” as an independent consultant but in reality is not. Falk’s own agreement even committed
him to a very detailed confidentiality clause where he promised to keep all company info, data

and proprietary information of any kind, in confidence. Throughout the sale process, Defendant

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Falk received numerous documents containing CSV’s financial reports, contracts with vendors
and a massive amount of confidential data related to CSV and NDAP’s business operations.

50. In other words, Gitman and Falk secretly formed a competing business to CSV
before Falk “brokered” the purchase price between NDAP and XYZ Corp. and while Gitman and
Falk were insisting that Falk receive a greater broker fee for the transaction.

51. The fact that Falk and Gitman had formed a competing business unbeknownst to
Dardashtian and were using CSV resources, proprietary information, trade secrets, and assets as
part of its operation is another reason that the NDAP sale to XYZ Corp has been held up. Falk’s
“consultant” fee has been a great source of disagreement as he and Gitman have ganged up on
Dardashtian to try to inflate Falk’s fee above any customary consultant or broker fee, all the

while “in bed” together conducting their burgeoning side business.

Defendant Channel Reply, Inc.

52. On Monday May 29, 2017, Defendant Gitman unilaterally canceled
Dardashtian’s participation in a pre-scheduled weekly conference call with international
employees operating Plaintiff ChannelReply. He removed the event from Dardashtian’s calendar
so that he could not join the Skype call and get any information, updates or ask any questions
about Plaintiff ChannelReply’s business. See Plaintiff Aff. Exhibit 66a.

53. | On Monday May 29, 2017, after blocking Dardashtian’s access to the CSV and
Plaintiff ChannelReply company conference call with employees, Defendant Gitman spoke with
Defendant Bagaev, Plaintiff Channel Reply’s lead software developer, indicating Gitman’s intent

to fly to Russia to meet with Bagaev. Plaintiffs Aff Exhibit “66b.”

 

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54. On Tuesday May 30, 2017 at approximately 5:08 p.m., Defendant Gitman again
stated to Bagaev his intent to fly to Russia immediately to meet privately with him and Plaintiff
ChannelReply’s other developer, Oleskii Glukharev, to discuss CSV’s and Plaintiff
ChannelReply’s respective operations, without Dardashtian being present. Plaintiff Aff. Exhibit
“71.”

55. On the very same day that Defendant Gitman conveyed his intentions to meet
with Plaintiff ChannelReply’s developers in Russia, on May 30, 2017, Defendant Gitman
registered Defendant Channel Reply, Inc. with the Secretary of State in Delaware.

56. Defendant Gitman’s clear purpose of forming Defendant Channel Reply, Inc. is to
transfer all of CSV and Plaintiff ChannelReply’s assets into a new company for Defendant
Gitman’s own use, thereby stealing CSV”s assets, including the Plaintiff ChannelReply
proprietary software codes and converting all of its assets, trade secrets, intellectual and
proprietary property, software, code and employees, while, simultaneously, locking Dardashtian
out of CSV and Plaintiff ChannelReply so that Dardashtian had no access to any resources to try
to prevent it or defend himself, to CSV and ChannelReply’s customers and employees.

57. On June 1, 2017, Defendant Gitman sent Defendants Bagaev and Glukharev new
employment agreements for them to become employees of his newly formed company
"[Defendant] Channel Reply, Inc.”

58. Plaintiff sent these employment agreements relating to Defendant Channel Reply
Inc. using the email David@dalva.ventures. Upon closer examination, it appears Defendant
Gitman formed Dalva Ventures in February of 2017, indicating that his unlawful intentions
commenced at least back in February, 2017 to steal and convert Plaintiff ChannelReply to his

own use and for his own benefit. Dalva Ventures is believed to be another entity formed by

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Defendant Gitman to compete directly or indirectly with Plaintiff ChannelReply and CSV in the
e-commerce industry.

59. On June 1, 2017, Defendant Gitman offered employees of CSV a stock plan
agreement and 125,000 shares of equity in his newly formed Defendant Channel Reply, Inc. and
also told CSV and Plaintiff ChannelReply’s lead developer, Konstantyn Bagaev, that he will be
considered a co-founder of the new Defendant Channel Reply Inc. company to win his loyalty.

60. On June 2, 2017 Defendant Gitman spoke to Konstantyn Bagaev about new
hires for his new company, Defendant Channel Reply, Inc.

61. Defendant Gitman also discussed getting venture capital and said he knew a
venture capitalist who could help. Gitman also promised to help Bagaev get a Visa and access to
U.S. bank accounts to induce his cooperation and gain his loyalty.

62. On June 2, 2017, Defendant Gitman essentially indicated to Bagaev, Plaintiff
ChannelReply’s developer, that after he converted all of CSV’s assets to his new company
Defendant Channel Reply Inc., he would offer Dardashtian a 5% share of the new company but
if Dardashtian did not accept it, then the 5% share offered to Dardashtian would revert back to
Bagaev. When Bagaev questioned why Dardashtian would ever accept a 5% share of Defendant
Channel Reply, Inc. (a company unlawfully formed to compete with CSV and Plaintiff
ChannelReply in which Dardashtian already owns 50%), Defendant Gitman said “it was a “fair”
and “generous” offer.

63. Also, on June 2, 2017, Dardashtian noticed that Defendant Gitman had updated
the CSV-funded TimeDoctor account and changed the name to "David's company” thereby

further evidencing Defendant Gitman’s intent and plot to make CSV and Plaintiff ChannelReply

his and only his.

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64. On June 4, 2017, Bagaev asked whether they should update the Plaintiff
ChannelReply website and remove CSV's Terms of Service which identified CSV as the owner
of ChannelReply and replace it with new terms of service for ChannelReply's existing customers
so they can convert those customers to Defendant Channel Reply Inc. Defendant responded
“absolutely.”

65. Defendant Gitman also confirmed he is traveling to the Ukraine to meet with the
lead Developers, Bagaev and Glukharev in further efforts to operate Defendant Channel Reply,
Inc. in person within a few days.

66. On June 5, 2017, Defendant Gitman advised Bagaev, Plaintiff ChannelReply’s
lead developer that he intends to develop a new corporation in the Ukraine to cut company
taxes. It appears he will be trying to divert additional CSV’s funds, assets and proprietary
information abroad.

67. Defendant Gitman has misappropriated and converted funds and assets rightfully
belonging to CSV and Plaintiff ChannelReply to fund his unlawful competing businesses, Accel
Commerce and Defendant Channel Reply, Inc.

68. Defendant Falk has conspired and participated in Defendant Gitman’s
misappropriation and conversion of CSV’s and Plaintiff Channel Reply’s assets, trade secrets
and confidential and proprietary information to the benefit of Accel Commerce Defendant
Channel Reply Inc. and himself.

69. Defendants Bagaev and Glukharev have also conspired and participated in
Defendant Gitman’s misappropriation of CSV’s and Plaintiff ChannelReply’s assets, trade
secrets and confidential and proprietary information to the benefit of Accel Commerce,

Defendant Channel Reply, Inc. and themselves, respectively.

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GITMAN, FALK, BAGAEV, DALVA VENTURES, GLUKHAREV, DEFENDANT
CHANNEL REPLY, INC AND ACCEL COMMERCE MISAPPROPRIATION OF
VARIOUS COMPUTER PASSCODES AND SOFTWARE

70. On May 27, 2017 up until present, Dardashtian has tried to logon to his CSV
Bank of America bank account without success. Dardashtian received notification that his
passcodes had been changed, thereby locking him out so that he could not alter or redirect any
preexisting debits, nor see incoming or outgoing account activity. Plaintiff Aff. Exhibit “63.”

71. Dardashtian is also locked out of the NDAP, LLC Bank of America business
account as well.

72. After attempting to access other CSV computer software, Dardashtian was unable
to access any of CSV’s accounts that are utilized to operate multiple websites and businesses
through CSV.

73. CSV stores all passwords to all accounts on a heavily encrypted password storage
site called “1 password”. This is a site designed to control all company level passwords for all
accounts.

74. Defendant Gitman has abused and has exceeded his authority as to CSV’s
software as he has “locked out” Dardashtian from CSV’s computer software by removing his
access to “1 password.”

75. Therefore, Dardashtian cannot access passwords to around two dozen company
portals housing all company data, customer lists, codes, payment information, receipts, company
historical documents, proprietary information and other information relating to CSV, NDAP and

Plaintiff ChannelReply as well as several other businesses, domains and websites owned by

CSV.

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76. Gitman has also abused and his exceeded his authority as to CSV’s software by
“locking out” Dardashtian from Google Suite. Google Suite is a business level version of
Google. The suite of services provided by google includes email addresses, google documents,
including all of Dardashtian’s company documents, such as company data, documents, customer
lists, subscriptions and invoices.

77. Defendant also created a new Google domain suite for ChannelReply to transfer
all of ChannelReply’s proprietary documents, email addresses and other confidential information
away from CSV’s business accounts and to a new Google suite portal that only Gitman controls.
Dardashtian cannot access it despite Gitman sending CSV employees new invite logins for such
access.

78. Since Defendant Gitman has misappropriated and converted all of CSV’s
company data over to his new Google Suite and locked Dardashtian out of 1 Password,
Dardashtian cannot access any company accounts except for his NDAP, LLC email address. This
means that anything new going forward, new incoming or outgoing emails, new and past data
and documents, Dardashtian cannot access.

79. Defendant Gitman has not only locked Dardashtian out of CSV’s and Plaintiff

ChannelReply’s computer software but he has stolen Dardashtian’s business identity by
taking his email address michael@channelreply.com to the new G suite and has put his own
photo up on Google so that if anyone receives an email or has received an email in the past from
Dardashtian’s email address, the email says Michael@channelreply.com and Michael Dash

(Dardashtian’s known business name) but it has Defendant Gitman’s face on the Gmail account,

as if he is Dardashtian.

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80. Defendant Gitman also now gets all emails going to and intended for Dardashtian
by ChannelReply’s customers and business associates. If he responds to such communications,
he is doing so pretending and fraudulently conveying that he is Dardashtian. If he doesn’t
respond, it portrays that Dardashtian is not responding to his customers and colleagues. Either
way Gitman has enormous power to continue to damage Dardashtian’s business reputation, as
well as the company Dardashtian spent years building.

81. Defendant Gitman has also exceeded and abused his authorization to access to
CSV’s Google Suite to download all data, reset all passwords, delete or suspend some accounts
all without Dardashtian’s knowledge or authorization.

82. Upon information and belief, Defendant Gitman has downloaded all
NDAP business data and emails without Dardashtian’s knowledge or authorization.

83.  Dardashtian has compiled evidence through an email tracking software called
MixMax that Defendant Gitman, upon information and belief, opened and then downloaded
Dardashtian’s personal investment document and tax document, which is Dardashtian’s
confidential personal financial statement that he sent to his accountant.

84. Mix Max indicates that at around 6:02 a.m. Defendant Gitman began opening
certain company emails from Brooklyn, NY. When someone accesses an email that was not sent
to him, MixMax shows the recipient's name and also the location of where that person is
accessing the email communication. On this occasion, only minutes after Defendant Gitman
opened a company document from Brooklyn, it shows that someone from Brooklyn opened a
personal investment document that Dardashtian had sent privately to his accountant and then
downloaded it. Dardashtian’s accountant does not live in Brooklyn, and was not in Brooklyn that

morning, neither was his accountant’s assistant who was cc’d on the email. Therefore, the only

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other person who had the access to download and open Dardashtian’s personal financial
statement was Defendant Gitman since he holds master admin logon to Dardashtian’s NDAP
email which Gitman has since converted.

85. Gitman also changed passwords to Chargebee and Stripe which are the payment
portals for the existing ChannelReply customers to pay their subscriptions. Those passwords
were saved on Dardashtian’s personal computer. When Dardashtian attempted to login he could
not. When he tried to reset the passwords, the password resets were sent
to Michael@channelreply.com which is now under Gitman’s control. Dardashtian cannot access
those accounts, and therefore cannot access any payment information for ChannelReply. Stripe is
an online payment portal for customers, Chargebee is a subscription management portal for

customers.

86. Defendant Gitman had these capabilities because he is a master administrator of
accounts on Google Domain by virtue of him creating the CSV Google account, which
Dardashtian was also formerly an equal administrator prior to May 27, 2017.

87. On May 27, 2017, Defendant Gitman abused and exceeded his authorization as to
his company access by removing Dardashtian as an administrator on Google Domain. By
removing Dardashtian as admin from the ndapllc.com level domain, which controls all of CSV’s
subdomains, Defendant Gitman has removed Dardashtian’s access to more than a dozen active
email addresses that Dardashtian uses to conduct business and get information related to his
businesses from vendors and customers.

88. Such businesses that fall under NDAP- LLC and under the CSV umbrella, which
Dardashtian cannot now access: Car Part Kings, Cooper Square Ventures, Plumburs, NDAP,

LLC, Next Day Auto Parts. This results in Dardashtian not having access to any Google drive

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accounts associated with the email accounts above, which contain all of Dardashtian’s business

documents, accountings, receipts, transaction records, customer information, proprietary

information, etc.

89.

Dardashtian also cannot access any Google analytics accounts associated with the

email addresses above. A list of locked out accounts are annexed to Plaintiff Aff. Exhibit 64a.

90.

Defendant has also changed, shared company passwords, and revoked or

suspended Dardashtian’s access to the following accounts:

a.

1Password Account — this is a password and login account management system. It
holds all of Dardashtian’s personal passwords and the companies shared passwords.
Account was paid for out of CSV company funds.

Chargebee Account — This is CSV’s subscription management account that holds the
customer information and billing information for all of Plaintiff's ChannelReply
customers.

Stripe Account — This is CSV’s credit card billing service that allows CSV to receive
credit card payments from Plaintiff ChannelReply customers.

PayPal Account — This is an online payment system which allows CSV to take online
payments from Plaintiff ChannelReply customers.

Upwork Account ~— This is a freelancer marketplace that allows CSV to hire and pay
freelancers to run the Plaintiff ChannelReply business.

Zendesk Accounts — This is a customer service management account which allows
CSV to talk to its customers when they email CSV through support tickets.

JIRA Account — This is a project management software that allows CSV to manage
projects effectively for CSV’s business to successfully complete tasks.

Slack — This is a messaging management software for CSV’s business that allows
company employees and freelancers to openly communicate with one another and
share documents.

Amazon Seller Central — This is CSV’s Amazon seller account that allows CSV to
sell products on Amazon and manage MWS accounts for Plaintiff ChannelReply
sellers through its admin.

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j. eBay Accounts — This allows CSV to sell products on ebay and manage its ebay
subscription identifications for Plaintiff ChannelReply sellers through its admin.

k. Timedoctor — This allows CSV to manage the time management of employees and
freelancers via an online portal to track time and take screenshots of employees and
freelancer work.

]. Amazon Web Services (AWS) — This is where CSV manages all of its Amazon Web
Servers which keep the businesses servers running effectively.

m. American Express Account — This is a NDAP corporate credit card account.

n. Magento Accounts — This is CSV’s Magento Admin which allows it to see all
backend data associated with our business.

0. Quickbooks Accounts.

p. Desk.com Account - This is a customer service management account which allows
CSV to talk to CSV customers when they email through support tickets.

q. Godaddy Account — CSV has an account with godaddy account which owns and
operates many domains, Dardashtian cannot login to Godaddy to even list all of the
domains owned by CSV and/or Plaintiff ChannelReply.

f Magemojo — This is CSV’s Magento hosted server account.
s. Mailchimp — This is CSV’s email subscription newsletter account.

t. Github — This is where all of CSV’s software is checked in and stored for sharing.

u. Ringcentral —- This is CSV’s VOIP system that allows CSV to make and receive
internet phone calls and faxes.

v. Join.me ~ This is a screenshare service that allows CSV to talk to customers and share
screens with them.

[See Plaintiff's Aff. Exhibits “64a”, “64b,” 64c”, “64d”, “64e,” “64” “64g,” “64h,”
“641.”

 

91. Defendant Gitman is not only threatening the existence of Dardashtian’s, CSV’s
and Plaintiff ChannelReply’s, respective, present businesses but is preventing Dardashtian from
growing them, and causing Dardashtian, CSV, and Plaintiff ChannelReply to lose business

relationships and customer acquisitions daily.

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92. Defendant Gitman apparently neglected to terminate Dardashtian’s access to
TimeDoctor, which has allowed Dardashtian to monitor Defendant’s intentions and actions, even
though Dardashtian has no access to the vast majority of CSV data, no access to company bank
accounts, no access to CSV’s and Plaintiff ChannelReply’s computer codes, and virtually no
access to CSV’s employees. Dardashtian has had to watch Defendant Gitman’s deceptive plans
unfold before his very eyes, with no power to stop them, as if he is watching a movie. This
includes having to watch Gitman promulgate disparaging lies about Dardashtian to his
employees. The very employees that Dardashtian worked with unilaterally to grow
ChannelReply and double its sales, making it into a viable company, when Gitman had left the
company to work elsewhere and sarcastically opined to Dardashtian that ChannelReply should
be called “Really going out of business.” Once Gitman saw the fruits of Dardashtian’s labor, he
arrived back on scene with a renewed interest in ChannelReply and his plans to make it “his”
began to unfold at lightning speed. Plaintiffs Aff. Exhibits 13a and 13b and 19c.

93. On May 27, 2017, Dardashtian received a notification that someone requested to
change the password to ChannelReply's PayPal account.

94, Proof of Defendant’s Gitman’s illegal conduct is that on Tuesday, May 30, 2017,
at approximately 3:00 p.m., Defendant Gitman told Bagaev, Plaintiff ChannelReply’s lead
developer, that he usurped Dardashtian’s company email address which caused customers
attempting to reach Dardashtian for different services, unable to do so. Gitman supremely stated,
“I get those emails now,” referring to his seizure of Dardashtian’s business emails. Plaintiff's
Aff. Exhibit 70.

95. On May 30, 2017, Defendant Gitman also acknowledged to Bagaev that he

moved the Plaintiff ChannelReply email and account information to a new G suite. Defendant

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Gitman changed employee passwords so they could access the G suite with all company emails
and documents. However, Defendant Gitman locked Dardashtian out of all company documents,
including customer lists, contracts, subscription information, and payment accounts etc.
Specifically Defendant Gitman spelled out his conversion of ChannelReply’s confidential data to
his new G Suite saying, “I’m moving ChannelReply email to a dedicated G suite account. You
should have received an email in your personal inbox with the new account. Can you give me
your old password so I can migrate your email?” later adding, “I reset your NDAP password to
kick off the migration of your emails to CR’s new G Suite account.”

96. On June 1, 2017, Defendant Gitman acknowledged to Plaintiff ChannelReply’s
lead developer that he has been viewing Dardashtian’s emails from Dardashtian’s NDAP, LLC
company email address saying that he saw an email that Dardashtian had sent to employees
asking them not to get involved in any disputes between him and Gitman and to just do their
work and operate the company as normal. Unfortunately, Gitman had other plans for the
employees and quickly made them instruments of his unlawful activities by spreading lies about
Dardashtian and offering them rewards too enticing to pass up, like ownership interests in
Channel Reply, Inc. and promises of a Visa.

97. From May 27, 2017, when Defendant Gitman depleted CSV’s bank account to
the present, customers have still been under contract with CSV, believing they are paying CSV.
Defendant Gitman has indicated he is in the process of reaching out to customers. Based on the
content of the conversations, Dardashtian believes the plan is to have ChannelReply’s customers
“reconnect” their service to get them to unknowingly consent to Defendant Gitman’s new

payment portals and/or servers belonging to Channel Reply, Inc.

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98. However, upon information and belief, Defendant Gitman has misappropriated
these payments by siphoning them to his own personal accounts or his new company Defendant
Channel Reply, Inc’s accounts without notifying CSV consumers.

99. Evidence of such misappropriation and conversion is that Defendant Gitman has
locked Dardashtian out of CSV’s Stripe and Chargebee accounts, the accounts which collect and
deposit customer payments into the CSV bank account, and the CSV bank account continues to
be overdrawn.

100. Dardashtian has not seen any customer payments from Stripe or Chargebee in the
CSV payment portals since May 27, 2017.

101. Dardashtian has also received email notice that a new PayPal account has been
created for Plaintiff ChannelReply, to which Dardashtian does not have access.

102. Assuming that Dardashtian’s refusal to close the NDAP, LLC-XYZ Corp.
transaction, and thereby not reward Falk’s and Gitman’s respective unlawful conduct in relation
to said deal, is in large measure motivation for Defendant Gitman’s above wrongful conduct is
that on June 5, 2017, Defendant Gitman sent Dardashtian correspondence stating that he will not
discuss ChannelReply until Dardashtian meets Defendant Gitman’s egregious demands relating
to the sale of NDAP. Essentially ChannelReply is Gitman’s hostage, until concedes to his terms
for the sale, and once he achieves that goal he can move onto his other expressly stated plan of
offering Dardashtian 5% of his newly formed Channel Reply, Inc. and show him that he has
converted the company and its developers over, leaving Dardashtian at his mercy. He does not
realize Dardashtian has been watching his plot unfold and compiling proof of his actions and

intentions using the TimeDoctor screenshot software installed by employees of CSV.

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103. Defendants Falk, Bagaev, Glukharev, Accel Commerce and Defendant Channel
Reply, Inc., respectively and jointly, have conspired and participated with Gitman who has
exceeded his authority as a holder of CSV’s and Plaintiff ChannelReply’s computer passcodes,

software, and passwords to further benefit themselves in competing businesses.

Defamatory Comments

104. Defendant Gitman has also defamed Dardashtian by stating several intentional
false statements in an effort to demean Dardashtian to his employees so Gitman can be lauded by
them, with such false statements exposing Dardashtian to public contempt, ridicule, aversion or
disgrace thereby causing Dardashtian damages. Dardashtian was also told by a company that
CSV has invested in that Defendant Gitman went to their company headquarters and again
disparaged Dardashtian to his own business associates and CSV partners. It is also unknown by
Dardashtian what Gitman has said to his colleagues and customers while controlling and locking
him out of the business email address that bears his name.

105.  OnJune 1, 2017 and June 2, 2017, Defendant Gitman stated to Bagaev that
Dardashtian “stole” money.

106. On June 1, 2017, Defendant Gitman stated to Bagaev that Dardashtian was
operating a “pyramid scheme” via written communication.

107. On June 1, 2017, Defendant Gitman alluded to Bagaev that he was working with
a “parasite”, aka Dardashtian, via written communication.

108. On June 1, 2017 He also called Dardashtian a “bully” when he heard that

Dardashtian had requested Gitman not meet with the developers behind his back.

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109. On June 2, 2017 Defendant Gitman praised himself to the developer after he
promised to make the developer Bagaev a “co-founder” of his new unlawful company Channel
Reply, Inc, saying he would like to believe there are more people like himself and that he just

wants to do the right thing and lead by example.

COUNT I
INJUNCTIVE RELIEF AGAINST ALL DEFENDANTS

110. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

111. Plaintiffs are likely to succeed on its claims in this matter, including but not
limited to, a) breach of contract; b) misappropriation; c) conversion; d) tortious interference; e)
computer fraud pursuant to 18 USC 1030; f) theft of trade secrets pursuant to 18 USC 1832; and
g) breach of fiduciary duty. Specifically, as Plaintiff CSV is likely to prevail on the merits of its
claim under 18 USC 1030, it is entitled to injunctive relief pursuant to 18 USC 1030(g).

112. In the alternative, even if there exist sufficiently serious questions as to the merits,
the balance of hardships is decidedly tipped in the Plaintiffs’ favor.

113. Absent injunctive relief, Plaintiffs will suffer immediate and irreparable harm as a
result of the respective and joint actions of Gitman, Falk, Dalva Ventures, Accel Commerce,
Bagaev, Glukharev and Defendant Channel Reply, Inc., including a) depletion of the assets of
Plaintiff ChannelReply and CSV; b) conversion of proprietary and confidential information
exclusively belonging to Plaintiff ChannelReply and CSV; c) significant damage to the business
relations of Plaintiff ChannelReply and CSV and to Dardashtian’s business reputation; and d)

misappropriation of CSV’s and Plaintiff ChannelReply’s trade secrets, confidential and

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proprietary information, such as customer lists and addresses, vendor lists and addresses,
computer software programs; computer pass codes.

114. The status quo certainly weighs in favor of Plaintiffs as Plaintiffs merely seek that
the Court restrain further unlawful misappropriation, depletion, usage, reproduction of Plaintiff
ChannelReply and CSV’s assets and trade secrets, prevent continued unfair competition through
the conversion and use of those assets and the Plaintiff ChannelReply trade name, and to compel
Gitman to replace all funds he wrongfully siphoned to competing businesses, Defendant Channel
Reply, Inc., Dalva Ventures and Accel Commerce, and to maintain those funds as has been the
normal course of conduct of the nearly 6 years’ business operations of Plaintiff ChannelReply

and CSV.
115. Therefore, the Court must issue the following immediate Restraints:

a. Restraining and enjoining Defendants, Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from misappropriating and/or otherwise withdrawing funds
belonging to CSV, NDAP and/or Plaintiff ChannelReply from Plaintiff's banking
accounts and/or from any of Plaintiffs payment or subscription portals, including
but not limited to Stripe, Chargebee, PayPal, Amazon, eBay and/or from any
other location electronic or otherwise;

b. Directing Defendant Gitman to redeposit into the CSV Bank of America banking
account all monies withdrawn by him and pay any overdraft fees incurred since
May 27", 2017, the date on which he withdrew the company’s funds;

c. Restraining Defendant Gitman from auto-debiting or scheduling new charges to
the NDAP American Express credit card or charges from the CSV or NDAP bank
accounts for any reason but also including, his personal expenses unrelated to
business, including but not limited to his RingCentral account, his Founders
discount card, and his BMW car payments and accompanying car insurance;

d. Directing Defendant Gitman to remove his pre-existing and recurring monthly
auto debits from the CSV or NDAP bank accounts and the NDAP American
Express credit card including but not limited to his BMW car payments and
accompanying car insurance, his RingCentral account and his Founders discount

card;

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h.

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff
NDAP’s customer lists and addresses, email addresses and phone numbers,
vendor lists and addresses, email addresses and phone numbers, computer
software programs, computer codes, passcodes, passwords, intellectual property,
confidential information and trade secrets for any reason;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff CSV
and Plaintiff ChannelReply’s “Company Confidential Information” as defined in
the CSV Operating Agreement, customer lists and addresses, emai! addresses and
phone numbers, vendor lists and addresses, email addresses and phone numbers,
computer software programs; computer codes, passcodes, passwords, intellectual
property, confidential information and trade secrets for any reason;

Directing Defendant Gitman to immediately provide and restore Plaintiff Michael
Dardashtian with full and complete access to all NDAP, CSV and ChannelReply
electronic accounts, including but not limited to, all password access to all codes,
accounts on Google Domain, bank accounts, email accounts, payment portal
accounts, and/or any other password-protected account and information relating to
NDAP, CSV and ChannelReply, including all twenty-two (22) accounts listed in
Exhibit 58 to the Affidavit of Michael Dardashtian;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from utilizing, sharing, selling, transferring, backing up,
destroying, altering, wasting, terminating, discontinuing, building upon or
otherwise affecting in any manner the proprietary and/or confidential information
and code that was developed by CSV’s developers, Konstantyn Bagaev and
Oleksii Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply and/or
NDAP;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from soliciting, bribing, contracting with, offering employment
to, offering an equity participation in any one of Defendants’ business entities
and/or otherwise in any manner interfering with NDAP, CSV and ChannelReply’s

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m.

business relationships with its customers, vendors, employees, partners,
investment partners, prospective purchasers and/or subcontractors, including but
not limited to Konstantyn Bagaev and Oleksii Glukharev;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from inducing or in any other manner soliciting Plaintiffs, NDAP,
CSV and ChannelReply’s customers, vendors, employees and/or subcontractors,
partners, prospective purchasers, investment partners, including but not limited to
Konstantyn Bagaev and Olesksii Glukharev to terminate or alter their business
relationship and/or contractual relationship with Plaintiffs, or any one of them;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives from misappropriating Plaintiff Michael Dardashtian’s identity,
including but not limited to his business identity, his emails, his personal financial
and identifier information, his tax documents, and/or falsely representing
themselves in any manner as Michael Dardashtian or under Plaintiffs business
name “Michael Dash;”

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from contacting or in any other manner communicating with any
of Plaintiffs, NDAP, CSV, and/or Plaintiff ChannelReply’s customers, vendors,
employees, subcontractors, investors, prospective purchasers, including but not
limited to Konstantyn Bagaev and Alesky Glukharev for any reason whatsoever
including but not limited to messaging customers and asking them to reconnect
their service or API for any purpose including to switch to a new payment
account;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaev and Oleksii
Glukharev from using the tradename “ChannelReply”, “Channel Reply”,
“Channel Reply, Inc.”, “ChannelReply,Inc.” “Channel Reply, LLC”,
“ChannelReply, LLC” or any other analogous or confusingly similar name to that
of Plaintiff's “ChannelReply” for any reason whatsoever;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaev and Oleksii

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Glukharev, from using , in any way, shape or form, and for any purpose, any of
NDAP, CSV and Plaintiff ChannelReply’s confidential, proprietary and trade
secret information, including but not limited to Plaintiff's codes, software and
processes, to compete against Plaintiffs, NDAP, CSV and/or ChannelReply and
from replicating or trying to replicate or recreate an identical or functionally
similar analog of any of NDAP, CSV and Plaintiff ChannelReply’s confidential,
proprietary and trade secret information, including but not limited to Plaintiff's
codes, software and processes, to compete against Plaintiffs, NDAP, CSV and/or
ChannelReply;

o. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc. from engaging in any
action(s) whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
ChannelReply’s businesses or interests;

p. Restraining and enjoining Defendant Gitman from making any decisions
concerning Plaintiffs NDAP, CSV and/or ChannelReply without prior written
approval of Plaintiff Michael Dardashtian or order of the Court;

q. Restraining and enjoining Defendants Gitman, Falk, and any business in which
they are affiliated as an owner, member, officer, director, manager, or otherwise,
from engaging in any communications with any proposed purchaser of NDAP
and/or otherwise interfering with any potential sale of NDAP;

r. Restraining and enjoining all of Defendant Channel Reply, Inc.’s accounts,
physical, electronic or otherwise and Defendant David Gitman’s Bank of America
banking accounts and directing that a constructive trust be immediately imposed
on such accounts;

s. Directing Defendant Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and any of their owners, members, officers, directors,
managers, employees, subcontractors, agents, transferees and representatives to
return to Plaintiffs all physical and/or electronic copies, backups, discs, drives,
including but not limited to USB drives, or other storage devices containing
copies or originals of any of NDAP, CSV or ChannelReply’s Company
Confidential Information as defined in the CSV Operating agreement, trade
secrets, company data or other property now in Defendants’ possession, custody
or control;

t. Directing Defendants Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and of their owners, members, officers, directors, managers,
employees, subcontractors, agents, transferees and representatives to preserve and
not alter, tamper with or destroy in any way, all physical or electronic data,
documents, removable media, personal computers, work computers, hard drives
associated with personal and work computers, email accounts and corresponding
passwords, electronic storage devices including from or on the “cloud,” remote

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servers, code repositories, writeable compact discs or CDs, writeable digital video
discs or DVDs, USB drives, floppy discs, files, messages, emails or any other
storage device containing information relating to their activities with NDAP, CSV
and Plaintiff Channel Reply, Channel Reply, Inc., Dalva Ventures, Summit Rock
Holdings, Accel Commerce and any other related companies without alteration
and make them available for review by Plaintiffs and their authorized agents
pursuant to a Discovery request which Plaintiffs will submit to the Court;

WHEREAS, Plaintiffs request that the Court issue immediate preliminary and temporary

restraints as follows:

a. Restraining and enjoining Defendants, Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from misappropriating and/or otherwise withdrawing funds
belonging to CSV, NDAP and/or Plaintiff ChannelReply from Plaintiff’s banking
accounts and/or from any of Plaintiffs payment or subscription portals, including
but not limited to Stripe, Chargebee, PayPal, Amazon, eBay and/or from any
other location electronic or otherwise;

b. Directing Defendant Gitman to redeposit into the CSV Bank of America banking
account all monies withdrawn by him and pay any overdraft fees incurred since
May 27", 2017, the date on which he withdrew the company’s funds;

c. Restraining Defendant Gitman from auto-debiting or scheduling new charges to
the NDAP American Express credit card or charges from the CSV or NDAP bank
accounts for any reason but also including, his personal expenses unrelated to
business, including but not limited to his RingCentral account, his Founders
discount card, and his BMW car payments and accompanying car insurance;

d. Directing Defendant Gitman to remove his pre-existing and recurring monthly
auto debits from the CSV or NDAP bank accounts and the NDAP American
Express credit card including but not limited to his BMW car payments and
accompanying car insurance, his RingCentral account and his Founders discount

card;

e. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff
NDAP’s customer lists and addresses, email addresses and phone numbers,
vendor lists and addresses, email addresses and phone numbers, computer
software programs, computer codes, passcodes, passwords, intellectual property,
confidential information and trade secrets for any reason;

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f. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff CSV
and Plaintiff Channel Reply’s “Company Confidential Information” as defined in
the CSV Operating Agreement, customer lists and addresses, email addresses and
phone numbers, vendor lists and addresses, email addresses and phone numbers,
computer software programs; computer codes, passcodes, passwords, intellectual
property, confidential information and trade secrets for any reason;

g. Directing Defendant Gitman to immediately provide and restore Plaintiff Michael
Dardashtian with full and complete access to all NDAP, CSV and ChannelReply
electronic accounts, including but not limited to, all password access to all codes,
accounts on Google Domain, bank accounts, email accounts, payment portal
accounts, and/or any other password-protected account and information relating to
NDAP, CSV and ChannelReply, including all twenty-two (22) accounts listed in
Exhibit 58 to the Affidavit of Michael Dardashtian;

h. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from utilizing, sharing, selling, transferring, backing up,
destroying, altering, wasting, terminating, discontinuing, building upon or
otherwise affecting in any manner the proprietary and/or confidential information
and code that was developed by CSV’s developers, Konstantyn Bagaev and
Oleksii Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply and/or
NDAP;

i. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from soliciting, bribing, contracting with, offering employment
to, offering an equity participation in any one of Defendants’ business entities
and/or otherwise in any manner interfering with NDAP, CSV and ChannelReply’s
business relationships with its customers, vendors, employees, partners,
investment partners, prospective purchasers and/or subcontractors, including but
not limited to Konstantyn Bagaev and Oleksii Glukharev;

j. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from inducing or in any other manner soliciting Plaintiffs, NDAP,
CSV and ChannelReply’s customers, vendors, employees and/or subcontractors,
partners, prospective purchasers, investment partners, including but not limited to

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Konstantyn Bagaev and Olesksii Glukharev to terminate or alter their business
relationship and/or contractual relationship with Plaintiffs, or any one of them;

k. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives from misappropriating Plaintiff Michael Dardashtian’s identity,
including but not limited to his business identity, his emails, his personal financial
and identifier information, his tax documents, and/or falsely representing
themselves in any manner as Michael Dardashtian or under Plaintiffs business
name “Michael Dash;”

l. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from contacting or in any other manner communicating with any
of Plaintiffs, NDAP, CSV, and/or Plaintiff ChannelReply’s customers, vendors,
employees, subcontractors, investors, prospective purchasers, including but not
limited to Konstantyn Bagaev and Alesky Glukharev for any reason whatsoever
including but not limited to messaging customers and asking them to reconnect
their service or API for any purpose including to switch to a new payment
account;

m. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaev and Oleksii
Glukharev from using the tradename “ChannelReply”, “Channel Reply”,
“Channel Reply, Inc.”, “ChannelReply,Inc.” “Channel Reply, LLC”,
“ChannelReply, LLC” or any other analogous or confusingly similar name to that

of Plaintiff's “ChannelReply” for any reason whatsoever;

n. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaev and Oleksii
Glukharev, from using , in any way, shape or form, and for any purpose, any of
NDAP, CSV and Plaintiff ChannelReply’s confidential, proprietary and trade
secret information, including but not limited to Plaintiff's codes, software and
processes, to compete against Plaintiffs, NDAP, CSV and/or ChannelReply and
from replicating or trying to replicate or recreate an identical or functionally
similar analog of any of NDAP, CSV and Plaintiff ChannelReply’s confidential,
proprietary and trade secret information, including but not limited to Plaintiff's
codes, software and processes, to compete against Plaintiffs, NDAP, CSV and/or

ChannelReply;

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o. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc. from engaging in any
action(s) whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
ChannelReply’s businesses or interests;

p. Restraining and enjoining Defendant Gitman from making any decisions
concerning Plaintiffs NDAP, CSV and/or ChannelReply without prior written
approval of Plaintiff Michael Dardashtian or order of the Court;

q. Restraining and enjoining Defendants Gitman, Falk, and any business in which
they are affiliated as an owner, member, officer, director, manager, or otherwise,
from engaging in any communications with any proposed purchaser of NDAP
and/or otherwise interfering with any potential sale of NDAP;

r. Restraining and enjoining all of Defendant Channel Reply, Inc.’s accounts,
physical, electronic or otherwise and Defendant David Gitman’s Bank of America
banking accounts and the Chase banking account in the name of Channel Reply,
Inc. directing that a constructive trust be immediately imposed on such accounts;

s. Directing Defendant Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and any of their owners, members, officers, directors,
managers, employees, subcontractors, agents, transferees and representatives to
return to Plaintiffs all physical and/or electronic copies, backups, discs, drives,
including but not limited to USB drives, or other storage devices containing
copies or originals of any of NDAP, CSV or ChannelReply’s Company
Confidential Information as defined in the CSV Operating agreement, trade
secrets, company data or other property now in Defendants’ possession, custody
or control;

t. Directing Defendants Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and of their owners, members, officers, directors, managers,
employees, subcontractors, agents, transferees and representatives to preserve and
not alter, tamper with or destroy in any way, all physical or electronic data,
documents, removable media, personal computers, work computers, hard drives
associated with personal and work computers, email accounts and corresponding
passwords, electronic storage devices including from or on the “cloud,” remote
servers, code repositories, writeable compact discs or CDs, writeable digital video
discs or DVDs, USB drives, floppy discs, files, messages, emails or any other
storage device containing information relating to their activities with NDAP, CSV
and ChannelReply, Channel Reply, Inc., Dalva Ventures, Summit Rock Holdings,
Accel Commerce and any other related companies without alteration and make
them available for review by Plaintiffs and their authorized agents pursuant to a
Discovery request which Plaintiffs will submit to the Court.

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COUNT 2
BREACH OF FIDUCIARY DUTY AS TO GITMAN

116. Plaintiffs repeat and reallege all facts set forth above herein as if set forth
at length.

117. As aco-owner and co-manager of CSV, Defendant Gitman owed and continues to
owe fiduciary duties of care, loyalty and good faith to CSV, NDAP and Plaintiff Dardashtian.
These fiduciary duties include obligations to discharge his obligations to Plaintiffs in good faith
and honestly.

118. Defendant Gitman knowingly breached his fiduciary duties to Plaintiffs.

119. Defendant Gitman failed to act in a manner consistent with his obligations in
accordance with the CSV Operating Agreement, his agency and trust to Plaintiffs, and failed to
exercise the utmost good faith and loyalty in the performance of his duties to Plaintiffs.

120. Among other things, a) Defendant Gitman depleted the CSV business operating
account without the express permission of Plaintiff Dardashtian; b) misappropriated and
converted CSV’s and Plaintiff ChannelReply’s respective business assets and proprietary and
confidential information and trade secrets to form three competing companies, Accel Commerce,
Dalva Ventures and Defendant Channel Reply, Inc.; c) solicited CSR’s and ChannelReply’s
respective customers on behalf of competing businesses; d) “locked out” Plaintiff Dardashtian
from multiple computer and electronic accounts necessary and fundamental to CSV’s, NDAP
and Plaintiff ChannelReply’s business operations, including financial accounts in which
Dardashtian had always had access; e) accessed and disclosed Plaintiff Dardashtian’s personal

private financial and other information; f) conspired with Summit Rock and Falk, respectively, to

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increase their brokerage fee as to the NADP, LLC-X YZ transaction, while at the same time
forming a competing business with Falk and sabotaging the sale with their unreasonable
demands; and g) misappropriated and otherwise used the exact tradename “Channel Reply” to
unfairly compete against CSV and Plaintiff ChannelReply.

121. Defendant Gitman has exploited CSV and ChannelReply’s trade secrets and
confidential information, and has damaged CSV’s operating accounts, converted and altered
CSV’s computer passcodes and software thereby irreparably harming Dardashtian and CSV’s
and Plaintiff Channel Reply’s respective relationship with its own customers.

122. Asa direct and proximate result of Defendant Gitman’s breaches of his fiduciary
duties, Plaintiffs have been damaged in an amount to be determined at trial.

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, attorney’s fees, punitive and consequential damages as a result of such unlawful
conduct for an amount to be determined at trial but which is in excess of $2,000,000.00.

COUNT 3

BREACH OF FIDUCIARY DUTY AS TO FALK
AND SUMMIT ROCK

123. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

124. Defendant Falk and Summit Rock, as a broker and consultant to CSV, owe a
respective duty of loyalty to CSV, NDAP and Dardashtian, pursuant to law and the consulting
agreement that he poached from Dardashtian under false pretenses, which includes not forming a
competing business against CSV and Plaintiff ChannelReply unbeknownst to Dardashtian, while

attempting to leverage Dardashtian for a higher brokerage fee and inflated profit shares as to the

NADP, LLC-XYZ, Corp. transaction.

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125. Defendant Falk further owes a duty to Dardashtian, NDAP and to CSV to not
secretly or openly use CSV’s company funds for the operations of his company Accel, such as
his use of CSV’s Upwork account to make his business cards or use of a bookkeeper on CSV’s
payroll to do his company books on the same Upwork account. Falk owes further duty to
Dardashtian, CSV and NDAP to not conspire with Gitman to convert and misappropriate the
assets of CSV and Plaintiff ChannelReply to benefit Accel Commerce, Summit Rock or any
other secret company he has formed for his own benefit or for the benefit of he and Gitman
working in concert.

WHEREFORE, Plaintiff demands judgment against Defendants Falk Summit Rock and
Gitman for all compensatory, punitive, attorney’s fees, and consequential damages as a result of
such unlawful conduct for an amount to be determined at trial but which is in excess of
$2,000,000.00.

COUNT 4

AIDING AND ABETTING BREACH OF FIDUCIARY DUTIES AS TO ALL
DEFENDANTS

126. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

127. Defendants Falk, Accel Commerce, Dalva Ventures, Bagaev, Glukharev, and
Channel Reply, Inc. have actual knowledge of Defendant Gitman’s duties and obligations
because they are each aware that Defendant Gitman serves as a co-owner and co-manager of
CSV, NDAP and Plaintiff ChannelReply and have all worked directly with Dardashtian in his
role as co-manager of same.

128. Despite Falk, Accel Commerce, Dalva Ventures, Bagaev, Glukharev, and

Channel Reply, Inc.’s respective knowledge of Defendant Gitman’s fiduciary duties and

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obligations to Plaintiffs, they, respectively and jointly, have knowingly induced, participated in,
and/or assisted Defendant Gitman to breach his fiduciary duties of care, loyalty and good faith to
Dardashtian, CSV and Plaintiff ChannelReply by, among other things, a) the depletion of the
CSV business operating account without the express permission of Plaintiff Dardashtian; b)
misappropriating and converting CSV’s and ChannelReply’s respective business assets and
proprietary and confidential information and trade secrets to form and for the benefit of
themselves including the two competing companies, Accel Commerce and Channel Reply, Inc.;
c) soliciting CSV’s and Plaintiff's Channel Reply’s respective customers on behalf of competing
businesses; d) abusing and exceeding authority and “locking out” Plaintiff Dardashtian from
multiple computer and electronic accounts necessary and fundamental to CSV’s and Plaintiff's
ChannelReply’s business operations, including financial accounts; e) improperly accessing and
disclosing Plaintiff Dardashtian’s personal private financial and other information; f) using an
exact same trade name to unfairly compete against Plaintiff Channel Reply; and g) improperly
soliciting Plaintiffs’ developers to breach their duties to Plaintiffs.

129. Defendants Falk, Accel Commerce, Bagaev, Glukharev, and Channel Reply, Inc’s
respective and joint actions in aiding and abetting these breaches of fiduciary duty were and are
intentional, illegal and have been engaged in for the specific purpose of aiding and abetting
Defendant Gitman to breach his fiduciary duties to Plaintiffs.

130. Asa proximate result of Falk, Accel Commerce, Bagaev, Glukharev, and
Defendant Channel Reply, Inc respective and joint aiding and abetting of breach of fiduciary
duties, Plaintiffs have been damaged.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

for all compensatory, punitive, attorney’s fees and consequential damages as a result of such

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unlawful conduct for an amount to be determined at trial but which amount is in excess of
$2,000,000.00.
COUNT 5
VIOLATION OF 18 USC 1832 AND 18 USC 1836 AGAINST GITMAN, FALK,
BAGAEV, GLUHAREV, ACCEL COMMERCE, DALVA VENTURES, AND
DEFENDANT CHANNEL REPLY, INC.

131. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

132. Plaintiffs, CSV and Plaintiff ChannelReply are the owners of the trade secrets and
confidential and proprietary information relating to Plaintiff ChannelReply’s computer software
used in the industry of e-commerce. Such trade secrets include customer lists and addresses,
vendor lists and addresses, computer software programs; computer pass codes and other
protectable intellectual property and proprietary information. These trade secrets include but are
not limited to CSV’s and Plaintiff Channel Reply’s electronic services that are used in or
intended for use in interstate and foreign commerce. CSV and Plaintiff ChannelReply sell the
software solutions throughout the United States and worldwide.

133. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaev, Olesksii Glukharev, respectively and jointly, have stolen,
fraudulently used, possessed, and/or misappropriated CSV’s and Plaintiff ChannelReply’s trade
secrets and confidential information by knowingly acquiring such trade secrets, intellectual and
proprietary property and confidential information to form and maintain a competing business
operation to CSV and Plaintiff ChannelReply.

134. Defendant Gitman, Falk, Dalva Ventures, Accel Commerce, Defendant Channel

Reply, Inc., Konstantyn Bagaev, Olesksii Glukharev have conspired to fraudulently use, possess,

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and/or misappropriate CSV’s and Plaintiff ChannelReply’s trade secrets, intellectual and
proprietary property and confidential information by knowingly acquiring such trade secrets,
intellectual and proprietary property and confidential information to form and maintain a
competing business operation to CSV and Plaintiff ChannelReply.

135. 18 USC 1836 provides a plaintiff with civil remedies against any individuals who
have misappropriated a trade secret, such damages including damages for the actual loss of the
trade secret, damages for any unjust enrichment caused by the misappropriation of the trade
secret, and if willfully and maliciously misappropriated, the Court shall award two times the
amount of the damages awarded to a plaintiff.

136. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaev, Olesksii Glukharev have acted maliciously and willfully in
misappropriating CSV and Plaintiff ChannelReply trade secret information that CSV and
Plaintiff ChannelReply produce, service, and use in interstate and foreign commerce.

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful
conduct for an amount to be determined at trial but which amount is in excess of $2,000,000.00,
including an award of two times the amount of damages awarded to the plaintiff at trial.

COUNT 6
INJUNCTIVE RELIEF PURSUANT TO 18 USC 1836(b)(3) AGAINST GITMAN,
FALK, BAGAEV, GLUKHAREV, ACCEL COMMERCE AND DEFENDANT
CHANNEL REPLY, INC.

137. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at

length.

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138. 18 USC 1836(b)(3) provides an owner of a trade secret that has been
misappropriated injunctive relief to prevent any actual or threatened misappropriation on terms
the Court finds reasonable and may require the defendants to take affirmative action to protect
the trade secret.

139. CSV and ChannelReply are the owner of the trade secrets and otherwise
confidential and proprietary information relating to its and Plaintiff ChannelReply computer
software and codes used in the industry of e-commerce, such trade secrets include customer lists
and addresses, vendor lists and addresses, computer software programs; computer passcodes,
codes and other intellectual and proprietary property. These trade secrets are CSV’s and Plaintiff
ChannelReply’s electronic services that are used in or intended for use in interstate or foreign
commerce. CSV and Plaintiff ChannelReply sell its software solutions throughout the United
States and worldwide.

140. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaev, Olesksii Glukharev, respectively and jointly, have stolen,
fraudulently used, possessed, and/or misappropriated CSV’s and Plaintiff ChannelReply’s trade
secrets and intellectual and proprietary property and confidential information by knowingly
acquiring such trade secrets, intellectual and proprietary property and confidential information to
form and maintain a competing business operation to CSV and Plaintiff ChannelReply.

141. Defendant Gitman, Dalva Ventures, Falk, Accel Commerce, Defendant Channel
Reply, Inc., Konstantyn Bagaev, Olesksii Glukharev have conspired to fraudulently use, possess,
and/or misappropriate CSV’s and Plaintiff ChannelReply’s trade secrets, intellectual and

proprietary property and confidential information by knowingly acquiring such trade secrets,

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intellectual and proprietary property and confidential information to form and maintain a
competing business operation to CSV and Plaintiff ChannelReply.
WHEREFORE, the Court must enter injunctive relief as follows:

a. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees
and representatives, from misappropriating and/or otherwise withdrawing
funds belonging to CSV, NDAP and/or Plaintiff Channel Reply from
Plaintiff's banking accounts and/or from any of Plaintiff's payment or
subscription portals, including but not limited to Stripe, Chargebee, PayPal,
Amazon, eBay and/or from any other location electronic or otherwise;

b. Directing Defendant Gitman to redeposit into the CSV Bank of America
banking account all monies withdrawn by him and pay any overdraft fees
incurred since May 27", 2017, the date on which he withdrew the company’s
funds;

c. Restraining Defendant Gitman from auto-debiting or scheduling new charges
to the NDAP American Express credit card or charges from the CSV or
NDAP bank accounts for any reason but also including, his personal expenses
unrelated to business, including but not limited to his RingCentral account, his
Founders discount card, and his BMW car payments and accompanying car
insurance;

d. Directing Defendant Gitman to remove his pre-existing and recurring monthly
auto debits from the CSV or NDAP bank accounts and the NDAP American
Express credit card including but not limited to his BMW car payments and
accompanying car insurance, his RingCentral account and his Founders
discount card;

e. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff
NDAP’s customer lists and addresses, email addresses and phone numbers,
vendor lists and addresses, email addresses and phone numbers, computer
software programs, computer codes, passcodes, passwords, intellectual property,
confidential information and trade secrets for any reason;

f. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,

Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and

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representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff CSV
and Plaintiff Channel Reply’s “Company Confidential Information” as defined in
the CSV Operating Agreement, customer lists and addresses, email addresses and
phone numbers, vendor lists and addresses, email addresses and phone numbers,
computer software programs; computer codes, passcodes, passwords, intellectual
property, confidential information and trade secrets for any reason;

g. Directing Defendant Gitman to immediately provide and restore Plaintiff Michael
Dardashtian with full and complete access to all NDAP, CSV and Plaintiff
Channel Reply electronic accounts, including but not limited to, all password
access to all codes, accounts on Google Domain, bank accounts, email accounts,
payment portal accounts, and/or any other password-protected account and
information relating to NDAP, CSV and Plaintiff Channel Reply, including all
twenty-two (22) accounts listed in Exhibit 58 to the Affidavit of Michael
Dardashtian;

h. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from utilizing, sharing, selling, transferring, backing up,
destroying, altering, wasting, terminating, discontinuing, building upon or
otherwise affecting in any manner the proprietary and/or confidential information
and code that was developed by CSV’s developers, Konstantyn Bagaev and
Oleksii Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply and/or
NDAP;

i. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from soliciting, bribing, contracting with, offering employment
to, offering an equity participation in any one of Defendants’ business entities
and/or otherwise in any manner interfering with NDAP, CSV and Plaintiff
Channel Reply’s business relationships with its customers, vendors, employees,
partners, investment partners, prospective purchasers and/or subcontractors,
including but not limited to Konstantyn Bagaev and Oleksii Glukharev;

j. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from inducing or in any other manner soliciting Plaintiffs, NDAP,
CSV and Plaintiff Channel Reply’s customers, vendors, employees and/or
subcontractors, partners, prospective purchasers, investment partners, including
but not limited to Konstantyn Bagaev and Olesksii Glukharev to terminate or alter
their business relationship and/or contractual relationship with Plaintiffs, or any

one of them;

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k. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives from misappropriating Plaintiff Michael Dardashtian’s identity,
including but not limited to his business identity, his emails, his personal financial
and identifier information, his tax documents, and/or falsely representing
themselves in any manner as Michael Dardashtian or under Plaintiffs business
name “Michael Dash;”

|. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from contacting or in any other manner communicating with any
of Plaintiffs, NDAP, CSV, and/or Plaintiff Channel Reply’s customers, vendors,
employees, subcontractors, investors, prospective purchasers, including but not
limited to Konstantyn Bagaev and Alesky Glukharev for any reason whatsoever
including but not limited to messaging customers and asking them to reconnect
their service or API for any purpose including to switch to a new payment
account;

m. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaev and Oleksii
Glukharev from using the tradename “ChannelReply”, “Channel Reply”,
“Channel Reply, Inc.”, “ChannelReply,Inc.” “Channel Reply, LLC”,
“ChannelReply, LLC” or any other analogous or confusingly similar name to that

of Plaintiff's “ChannelReply” for any reason whatsoever;

n. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaev and Oleksii
Glukharev, from using , in any way, shape or form, and for any purpose, any of
NDAP, CSV and Plaintiff ChannelReply’s confidential, proprietary and trade
secret information, including but not limited to Plaintiffs codes, software and
processes, to compete against Plaintiffs, NDAP, CSV and/or ChannelReply and
from replicating or trying to replicate or recreate an identical or functionally
similar analog of any of NDAP, CSV and Plaintiff ChannelReply’s confidential,
proprietary and trade secret information, including but not limited to Plaintiff's
codes, software and processes, to compete against Plaintiffs, NDAP, CSV and/or

ChannelReply;

o. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc. from engaging in any

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action(s) whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
ChannelReply’s businesses or interests;

p. Restraining and enjoining Defendant Gitman from making any decisions
concerning Plaintiffs NDAP, CSV and/or ChannelReply without prior written
approval of Plaintiff Michael Dardashtian or order of the Court;

q. Restraining and enjoining Defendants Gitman, Falk, and any business in which
they are affiliated as an owner, member, officer, director, manager, or otherwise,
from engaging in any communications with any proposed purchaser of NDAP
and/or otherwise interfering with any potential sale of NDAP;

r. Restraining and enjoining all of Defendant Channel Reply, Inc.’s accounts,
physical, electronic or otherwise and Defendant David Gitman’s Bank of America
banking accounts and the Chase banking account in the name of Channel Reply,
Inc. and directing that a constructive trust be immediately imposed on such
accounts;

s. Directing Defendant Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and any of their owners, members, officers, directors,
managers, employees, subcontractors, agents, transferees and representatives to
return to Plaintiffs all physical and/or electronic copies, backups, discs, drives,
including but not limited to USB drives, or other storage devices containing
copies or originals of any of NDAP, CSV or ChannelReply’s Company
Confidential Information as defined in the CSV Operating agreement, trade
secrets, company data or other property now in Defendants’ possession, custody
or control;

t. Directing Defendants Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and of their owners, members, officers, directors, managers,
employees, subcontractors, agents, transferees and representatives to preserve and
not alter, tamper with or destroy in any way, all physical or electronic data,
documents, removable media, personal computers, work computers, hard drives
associated with personal and work computers, email accounts and corresponding
passwords, electronic storage devices including from or on the “cloud,” remote
servers, code repositories, writeable compact discs or CDs, writeable digital video
discs or DVDs, USB drives, floppy discs, files, messages, emails or any other
storage device containing information relating to their activities with NDAP,
CSV, Plaintiff Channel Reply, Defendant Channel Reply, Inc., Dalva Ventures,
Summit Rock Holdings, Accel Commerce and any other related companies
without alteration and make them available for review by Plaintiffs and their
authorized agents pursuant to a Discovery request which Plaintiffs will submit to

the Court.

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COUNT 7
BREACH OF CONTRACT AGAINST GITMAN
142. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.
143. Section 12.2 of the CSV Operating Agreement provides that Plaintiff Dardashtian
and Defendant Gitman shall not publish, communicate, divulge, disclose, disseminate or
otherwise reveal to any person or entity, or use for any purpose whatsoever any Confidential

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Information belonging to CSV. Confidential Information is defined as any of CSV’s “processes,
data, designs, compilations of information, financial data, salary information, policies and
procedures, sales know-how or any other information that may be considered to be proprietary or

a trade secret of the Company, whether or not such information is considered a trade secret
within the meaning of applicable law.”

144. Defendant Gitman is using CSV’s Confidential Information, as that term is
defined in the CSV Operating Agreement, to operate Accel Commerce and Defendant Channel
Reply, Inc., to directly compete against Dardashtian, CSV and Plaintiff ChannelReply in the e-
commerce industry, both within the United States and worldwide.

145. Further, the Operating Agreement of CSV provides that Dardashtian will have
equal access to all of CSV’s and Channel Reply’s respective accounts and assets.

146. Gitman, unilaterally, has eliminated Dardashtian’s access to the CSV and Channel
Reply accounts and assets.

147. Therefore, Defendant Gitman has breached his contractual obligations to

Dardashtian, CSV and Plaintiff ChannelReply, respectively.

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148. Asaresult, Dardashtian and CSV have been damaged in an amount to be proven
at trial but which is in excess of $2,000,000.00.

149. Additionally, the CSV operating agreement provides that if a non-breaching party
prevails in any action to enforce its rights under same, such party shall be awarded reasonable
attorney’s fees incurred to enforce such rights. Therefore, Dardashtian is also entitled to an
award of reasonable attorney’s fees in relation to this action.

WHEREFORE, Dardashtian, Plaintiff ChannelReply and CSV demand judgment against
Defendant Gitman for all compensatory, reasonable attorney’s fees, punitive and consequential
damages as a result of such unlawful conduct for an amount to be determined at trial but which is
in excess of $2,000,000.00.

COUNT 8
UNJUST ENRICHMENT AGAINST ALL DEFENDANTS

150. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

151. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaev and Olesksii Glukharev have received an unjust benefit as a
result of their respective and/or joint misappropriation of assets, confidential information,
intellectual and proprietary property and/or trade secrets belonging to CSV, Plaintiff
ChannelReply and Dardashtian, respectively.

152. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaev and Olesksii Glukharev, respectively and jointly, have been
enriched at the expense of CSV, Plaintiff ChannelReply and Dardashtian as a result of such

wrongful conduct.

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153. Asaresult, Dardashtian, Plaintiff Channel Reply and CSV have been damaged in
an amount to be proven at trial but which is in excess of $2,000,000.00.

WHEREFORE, Dardashtian, Plaintiff ChannelReply and CSV demand judgment against
Defendants Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel Reply, Inc.,
Konstantyn Bagaev and Olesksii Glukharev, jointly and severally, for all compensatory,
attorney’s fees, punitive and consequential damages as a result of such unlawful conduct for an

amount to be determined at trial but which amount is in excess of $2,000,000.00.

COUNT 9

BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING AGAINST
GITMAN

154. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

155. Every contract contains and implied covenant of good faith and fair dealing that
prevents either party to act in a manner that would deprive the other party the right to receive the
benefits under their agreement.

156. Defendant Gitman’s unilateral draining and siphoning the financial accounts of
CSV, and his formation and operation of competing businesses to CSV and Plaintiff
ChannelReply in the e-commerce industry is a violation of the covenant of good faith and fair
dealing implicitly found in the CSV operating agreement.

157. Asaresult, Dardashtian, Plaintiff Channel Reply and CSV have been damaged in
an amount to be proven at trial but which is in excess of $2,000,000.00.

WHEREFORE, Dardashtian, Plaintiff Channel Reply and CSV demand judgment against

Defendants Gitman, Falk, Accel Commerce, Defendant Channel Reply, Inc., Konstantyn Bagaev

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and Olesksii Glukharev, jointly and severally, for all compensatory, attorney’s fees, punitive and
consequential damages as a result of such unlawful conduct for an amount to be determined at
trial but which amount is in excess of $2,000,000.00.
COUNT 10
CONVERSION

158. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

159. Onor about October 13, 2011, Plaintiff Dardashtian and Defendant Gitman
opened an operating business checking account at Bank of America for CSV and its subsidiary
companies including ChannelReply (“BoA Account”). Each Dardashtian and Gitman were dual
signatories on such BoA Account.

160. Should the BoA Account not have funds in the bank to cover the operating
expenses of CSV and its subsidiary companies, CSV and its subsidiary companies will
jeopardize the operation of its business and the potential loss of its customers.

161. On May 26, 2017, the BoA Account had an account balance of $74,715.21.

162. With the intent to interfere with the BoA Account and Plaintiff Dardashtian’s
equal rights thereto, Defendant Gitman did intentionally withdraw and siphon the funds from the
BoA account to the exclusion of Plaintiff Dardashtian, CSV and Plaintiff ChannelReply and
without Dardashtian’s authorization or consent.

163. On May 27, 2017, Defendant Gitman emailed Plaintiff Dardashtian
acknowledging that Defendant Gitman took all of the money out of the BoA account. Defendant
Gitman refused to advise Plaintiff Dardashtian where the funds were located and further refused

to replenish the BoA Account so that CSV and its subsidiaries could pay its operating expenses

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for CSV and ChannelReply. Upon information and belief, the siphoned funds have been placed
in a Bank of America account in Defendant Gitman’s name as well as a Chase account in
Channel Reply Inc.’s name.

164. Since May 26, 2017, the BoA Account has been operating at a negative balance
and is not financially capable of meeting its operating expenses.

165. Defendant Gitman’s actions were intentional and designed solely to harm CSV
and its subsidiary companies to gain a competitive advantage in Defendant Gitman’s competing
businesses and to drive Dardashtian and CSV, NDAP and Channel Reply into debt as evidenced
by Gitman’s brazen charges to a company credit card and bank account after his withdrawal,
including to fund his BMW automobile .

166. Additionally, Defendant Gitman has intentionally misappropriated these funds,
interfere with CSV and Plaintiff ChannelReply’s ability to operate ChannelReply’s confidential,
proprietary, and trade secret software to inhibit ChannelReply’s ability to properly service its
customers in the industry of e-commerce so that Defendant Gitman’s competing companies can
have an advantage and dominate the space by stealing the code;

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT li
CIVL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAEV,
GLUKHAREYV, DALVA VENTURES, AND CHANNEL REPLY, INC. AS TO
GITMAN’S CONVERSION

167. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

168. As set forth in Count 10, Defendant Gitman has committed the unlawful act of
conversion as to the assets of CSV and ChannelReply.

169. Defendant Gitman conspired and unlawfully agreed to commit such conversion in
conspiring with Defendants Falk, Accel Commerce, Dalva Ventures, Bagaev, Glukharev, and
Defendant Channel Reply, Inc.

170. Defendants Falk, Accel Commerce, Dalva Ventures, Bagaev, Glukharev, and
Defendant Channel Reply, Inc. each took overt acts in furtherance of their respective and joint
agreement with Defendant Gitman to convert and misappropriate CSV’s and Plaintiff
ChannelReply’s assets as set forth in Count 10.

171. Asa proximate result of Defendants Falk, Dalva Ventures, Accel Commerce,
Bagaev, Glukharev, and Channel Reply, Inc respective and joint unlawful conduct, Plaintiffs
have been damaged.

WHEREFORE, Plaintiff demands judgment against Defendants Falk, Accel Commerce,
Bagaev, Glukharev, Dalva Ventures, and Defendant Channel Reply, Inc., jointly and severally,
for all compensatory, attorney’s fees, punitive and consequential damages as a result of such

unlawful conduct for an amount to be determined at trial but which amount is in excess of

$2,000,000.00.

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COUNT 12
FALSE DESIGNATION/ UNFAIR COMPETITION
15 U.S.C 1125 AGAINST GITMAN AND
DEFENDANT CHANNEL REPLY, INC.

172. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

173. Starting in 2012, CSV created a proprietary software solution called
“ChannelReply” that integrates Ebay and Amazon customer service messages and order
information into a customer messaging solution for consumer-friendly messaging.

174. The “ChannelReply” trade name and title has acquired distinctiveness as it is
sufficiently known that consumers associate it with CSV and ChannelReply’s proprietary
messaging software.

175. Defendant Gitman’s use of the term “Channel Reply” to compete with Plaintiff
Channel Reply through Channel Reply Inc., is clearly intended by Defendant Gitman to trade off
CSV’s “ChannelReply” trade name, and is likely to cause and indeed will cause confusion,
mistake or deceit as to the affiliation, connection or association of Defendant Channel Reply
Inc., owned by Defendant Gitman, with ChannelReply, co-owned by Defendant Gitman and
Plaintiff Dardashtian.

176. Defendant Channel Reply Inc., is starkly similar to Plaintiff ChannelReply, in that
Defendant Gitman is seeking to unfairly compete with CSV and Plaintiff ChannelReply with the
misappropriation and unauthorized use of Plaintiff's ChannelReply’s goodwill, confidential and

proprietary software to offer the same service(s) to consumers in foreign and interstate

commerce in which Plaintiff CSV’s ChannelReply maintained a competitive advantage.

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177. Defendant Channel Reply Inc.’s use of the ChannelReply trade name constitutes
the unauthorized use in commerce of Plaintiff's Channel Reply name and will deceive
consumers into believing that Defendant Channel Reply Inc., is the same business as Plaintiff
CSV’s ChannelReply.

178. As the co-owner of Plaintiff ChannelReply and the owner of Channel Reply Inc.,
Defendant Gitman maintains full knowledge of the Plaintiff ChannelReply’s trade name and
confidential and proprietary software and service. Accordingly and as evidenced by the express
words in his conversations with employees delegating tasks to migrate email addresses and all
company data to a new ChannelReply G suite account in Google, Defendant Gitman’s acts to
misappropriate the Plaintiff ChannelReply tradename and good will are willful.

179. By reason of the acts of Defendant Gitman and Defendant Channel Reply Inc.,
Plaintiffs have suffered, are suffering and unless Defendant Gitman and Defendant Channel
Reply Inc., are restrained, will continue to suffer irreparable injury for which there is no adequate
remedy at law.

180. Plaintiffs are entitled to damages for Defendant Gitman’s and Defendant Channel
Reply Inc.’s infringement and malicious intentional confusion from its infringing conduct, both
in amounts to be proven at trial.

WHEREFORE, Plaintiff demands judgment against Defendants Gitman and Defendant
Channel Reply, Inc., jointly and severally, for all compensatory, attorney’s fees, punitive and
consequential damages as a result of such unlawful conduct for an amount to be determined at

trial but which amount is in excess of $2,000,000.00.

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COUNT 13

COMPUTER FRAUD
18 USC §1030

1781. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

182. CSV’s computers and servers are heavily encrypted and password protected
which store CSV’s and Plaintiff ChannelReply’s intellectual, proprietary and confidential
information (‘Company Computers”).

183. The Company Computers further store bank passwords for online banking access
containing financial records of its operating BoA Account which is utilized to pay CSV’s and its
subsidiary companies operating expenses, including those expenses of Plaintiff ChannelReply.

184. The Company Computers are used in interstate and foreign commerce.

185. The Company Computers are all “protected computers” under the 18 USC 1030,
the Computer Fraud and Abuse Act (“CFAA”).

186. As co-owners and co-managers of CSV and its subsidiary companies, Plaintiff
Dardashtian and Defendant Gitman jointly and equally shared and had access to the Company
Computers’ passwords, logon and login information, administrator information and therefore
each fully maintained equal access to the Company Computers and associated Company Portals,
Accounts, Servers and the like, Both Defendant Gitman and Plaintiff Dardashtian had admin
access but Defendant Gitman intentionally removed Plaintiff Dardashtian as an administrator so
he could not gain access or reset passwords. Defendant Gitman also removed Dardashtian’s
access to a password storage databank storing all company level passwords.

187. Beginning on or about May 27, 2017, Defendant Gitman knowingly and

fraudulently and without Plaintiff Dardashtian’s knowledge or consent, changed CSV’s banking

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passwords and other passwords contained in the Company Computers, including CSV and
Plaintiff ChannelReply’s Paypal password which is utilized to communicate with CSV and
Plaintiff ChannelReply’s local and interstate customers, as well as several other software
programs damaging them and blocking and otherwise terminating access to Dardashtian.
Defendant Gitman then altered and transferred Company data contained in the Company
Computers to his new G Suite to further his scheme of establishing his competing companies and
to effectively lockout Dardashtian from CSV and Plaintiff ChannelReply business.

188. In doing so, and while acting in his capacity as co-owner and co-manager of CSV,
NDAP and Plaintiff ChannelReply, Defendant Gitman knowingly and intentionally exceeded his
authorized access to the Company Computers to prevent and otherwise terminate Plaintiff
Dardashtian from having computer access and further disabled Plaintiff Dardashtian’s ability to
access the Company Computers, all of which actions affect interstate and/or foreign commerce.

189. Plaintiffs have suffered a loss as a direct result of Gitman’s unlawful actions as
Plaintiffs now must incur costs of responding to the offense, conducting damage assessments,
and restoring the data, program, system, or information to its condition prior to the offense, and
have lost revenue, incurred costs, including attorney’s fees, or other consequential damages
incurred because of the interruption of service and Gitman’s interference with the Company
Computers. The aggregate value of such loss is in excess of $5,000.00 within the past one year.

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, attorney’s fees, punitive and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $5,000.00.

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COUNT 14
CIVL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAEV,
GLUKHAREV, DALVA VENTURES, AND CHANNEL REPLY, INC. AS TO
GITMAN’S VIOLATION OF 18 USC 1030

190. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

191. As set forth in Count 13, Defendant Gitman has committed the unlawful act of
Computer Fraud as to the CSV protected computers, software and passcodes.

192. Defendant Gitman conspired and unlawfully agreed to commit such conversion
with Defendants Falk, Accel Commerce, Dalva Ventures, Bagaev, Glukharev, and Defendant
Channel Reply, Inc.

193. Defendants Falk, Accel Commerce, Dalva Ventures, Bagaev, Glukharev, and
Defendant Channel Reply, Inc. each took overt acts in furtherance of their respective and joint
agreement with Defendant Gitman to convert and misappropriate CSV’s and Plaintiff Channel
Reply’s assets as set forth in Count 13 through Defendant Gitman’s commission of Computer
Fraud.

194. Asa proximate result of Defendants Falk, Dalva Ventures, Accel Commerce,
Bagaev, Glukharev, and Channel Reply, Inc. respective and joint unlawful conduct, Plaintiffs
have been damaged.

WHEREFORE, Plaintiff demands judgment against Defendants Falk, Accel Commerce,
Bagaev, Glukharev, Dalva Ventures, and Defendant Channel Reply, Inc., jointly and severally,
for all compensatory, punitive, attorney’s fees, and consequential damages as a result of such

unlawful conduct for an amount to be determined at trial but which amount is in excess of

$5,000.00.

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COUNT 15

TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS ADVANTAGE

AGAINST GITMAN, FALK, ACCEL COMMERCE, BAGAEV, GLUKHAREV, DALVA
VENTURES, AND CHANNEL REPLY, INC.

195. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

196. Defendants Gitman, Falk, Accel Commerce, Bagaev, Glukharev, Dalva Ventures
and Defendant Channel Reply, Inc. are aware that CSV and Plaintiff ChannelReply have over
two hundred customers and additional proposed customers and business relations across the
United States and worldwide.

197. The above Defendants have wrongfully interfered with CSV and Plaintiff
ChannelReply’s proposed business relations. For example, the above Defendants have either
participated, assisted, and/or committed: a) the depletion of the CSV business operating account
without the express permission of Plaintiff Dardashtian; b) misappropriation and conversion of
CSV’s and Plaintiff ChannelReply’s respective business assets and proprietary and confidential
information and trade secrets to form competing companies, Defendant Channel Reply, Inc.
Accel Commerce and Dalva Ventures; c) soliciting CSV’s and Plaintiff ChannelReply’s
respective customers on behalf of competing businesses; d) “locking out” Plaintiff Dardashtian
and terminating his access from multiple computer and electronic accounts necessary and
fundamental to CSV’s and Plaintiff ChannelReply’s business operations, including financial
accounts; e) accessing and disclosing Plaintiff Dardashtian’s personal private financial
information; f) using and infringing upon the exact trade name “ChannelReply” to unfairly
compete against Plaintiff ChannelReply through Defendant Channel Reply, Inc.; g) breaching

their respective fiduciary duties to CSV and Plaintiff ChannelReply; and h) illegally soliciting

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and otherwise interfering with Plaintiff CSV and Plaintiff ChannelReply’s contractual relations
with its developers Bagaev and Glukharev by providing them with false information about
Plaintiff Dardashtian and offering them financial incentives to breach their agreement and duty
of loyalty to Plaintiffs.

198. Plaintiff CSV and Plaintiff Channel Reply would have entered into business
relations with several customers but for the above Defendants’ interference. Plaintiff Dardashtian
would have maintained and grown business relationships for himself and the company but for
Defendants’ harmful and obstructive actions.

199. The above Defendants acted with wrongful means. The above Defendants put and
continue to put ChannelReply’s worldwide customers and the worldwide customers they service
at risk of service disruption and collect their payments under dishonest means, funneling said
payments into accounts not belonging to CSV, all of this interferes with CSV and Channel
Reply’s business present and future relationships.

200. Plaintiff CSV and Plaintiff ChannelReply have been injured as a result.

WHEREFORE, Plaintiff demands judgment against Gitman, Falk, Accel Commerce,
Bagaev, Glukharev, Dalva Ventures and Defendant Channel Reply, Inc., jointly and severally, all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 16
DEFAMATION PER SE

201. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

202. Defendant Gitman has also defamed Dardashtian by stating several intentionally
false statements exposing Dardashtian to public contempt, ridicule, aversion or disgrace thereby
causing Dardashtian damages.

203. On June 1, 2017 and June 2, 2017 Defendant Gitman stated to Bagaev that
Dardashtian “stole” money.

204. On June 1, 2017 Defendant Gitman stated to Bagaev that Dardashtian was
operating a “pyramid scheme” via written communication.

205. On June 1, 2017, Defendant Gitman alluded to Bagaev that Dardashtian was a
“parasite” via written communication and called him a “bully” when he asked employees to stay
out of their dispute.

206. Asaresult, Dardashtian has incurred damages in the amount to be proven at trial
but which are in excess of $100,000.00.

207. These false statements accuse Dardashtian of a serious crime, and as such, these
statements which were made to Plaintiff ChannelReply’s lead developer, Bagaev, unquestionably
injure Dardashtian’s business and professional reputation.

WHEREFORE, Plaintiff Dardashtian demands judgment against Gitman, for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $100,000.00.

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COUNT 17
IDENTITY THEFT: NY CLS BUS 380-S AGAINST GITMAN
208. ‘Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.
209. Defendant Gitman has converted, misappropriated and/or stolen Dardashtian’s
business identity by wrongfully and without permission using Dardashtian’s email address,

michael@channelreply.com, while placing Gitman’s own picture and likeness on the Gmail

 

account so that anyone receiving email communications sees the email

address Michael@channelreply.com and Michael Dash (Dardashtian’s known business name) on

 

the signatory line but it has Defendant Gitman’s face on the Gmail account, as if he is
Dardashtian.

210. Defendant Gitman also now receives all emails intended for Dardashtian from
Plaintiff ChannelReply’s customers and business associates.

211. By doing so, Gitman is acting with an intent to defraud by using such electronic
services in the name of Dardashtian without Dardashtian’s consent.

WHEREFORE, Plaintiff Dardashtian demands judgment against Gitman, for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful
conduct for an amount to be determined at trial but which amount is in excess of $100,000.00.

COUNT 18
UNFAIR COMPETITION AS TO ALL DEFENDANTS UNDER
NEW YORK STATE LAW

212. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at

length.

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213. The Defendants, in bad faith, have all misappropriated the expenditures, skill and
labor of Dardashtian, CSV and Plaintiff ChannelReply by among other things, a) the depletion of
the CSV business operating account without the express permission of Plaintiff Dardashtian; b)
misappropriating and converting CSV and Channel Reply’s respective business assets and
proprietary and confidential information and trade secrets to form two competing companies,
Accel Commerce and Channel Reply, Inc.; c) improperly soliciting CSV’s and Plaintiff
ChannelReply’s respective customers on behalf of competing businesses; d) “locking out”
Plaintiff Dardashtian from multiple computer and electronic accounts necessary and fundamental
to CSV’s and Plaintiff Channel Reply’s business operations, including financial accounts; e)
accessing and disclosing Plaintiff Dardashtian’s personal private financial information; f) using
and infringing upon the exact trade name “ChannelReply” to unfairly compete against Plaintiff
ChannelReply through Defendant Channel Reply, Inc.; g) breaching their respective fiduciary
duties to CSV and Plaintiff ChannelReply; and h) illegally soliciting and otherwise interfering
with Plaintiff CSV and Plaintiff ChannelReply’s contractual relations with its developers Bagaev
and Glukharev by providing them with false information about Plaintiff Dardashtian and offering
them financial incentives to breach their agreement and duty of loyalty to Plaintiffs

214. Asaresult, Plaintiffs have been damaged.

WHEREFORE, Plaintiffs demand judgment against Defendants for all compensatory,
punitive, attorney’s fees, and consequential damages as a result of such unlawful conduct for an

amount to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 19

MISAPPROPRIATION OF TRADE SECRETS UNDER NEW YORK STATE
LAW

215. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

216. CSV is the owner of the trade secrets and other confidential and proprietary
information relating to its and Plaintiff ChannelReply’s computer software and code used in the
industry of e-commerce, such trade secrets include customer lists and addresses, vendor lists and
addresses, computer software programs; computer pass codes, other codes and other intellectual
property. These trade secrets are CSV’s and Plaintiff ChannelReply’s electronic services that are
used in or intended for use in interstate or foreign commerce. CSV and Plaintiff ChannelReply
sell its software solutions throughout the United States and worldwide.

217. Defendant Gitman, with the assistance and participation of all other Defendants,
is using and otherwise misappropriating those trade secrets in violation of the CSV operating
agreement and in breach of his fiduciary duty to CSV and Dardashtian to unfairly compete
against CSV and Plaintiff ChannelReply.

218. Such trade secrets are vital to CSV and Plaintiff ChannelReply’s business and
provides Defendants with an unfair competitive advantage which they would otherwise not have
enjoyed.

219. Asaresult, Plaintiffs have been damaged.

WHEREFORE, Plaintiffs demands judgment against Defendants for all compensatory,
punitive, consequential damages and attorney’s fees as a result of such unlawful conduct for an

amount to be determined at trial but which amount is in excess of $2,000,000.00.

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JURY DEMAND

Plaintiff request a trial by jury on all issues so triable.

Dated: June 8, 2017

ARYURI, D’ARGENIO, GUAGLARDI &

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Barry SN@udglardi, Esq. (BSG2401)
ARTURI, D’ARGENIO,
GUAGLARDI & MELITI, LLP
Attorneys for Plaintiff

365 West Passaic Street, Suite 130
Rochelle Park, NJ 07662

Phone: (201)947-4100

Fax: (201)947-4010

Email: bguaglardi@adgmlaw.com

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VERIFICATION
I, Michael Dardashtian, individually and on behalf of Plaintiffs, of which I am an equal
member and co-manager thereof, having been duly sworn and upon my oath, verifies under the
penalties of perjury that I have read the allegations of this Verified Complaint. All of the factual

allegations are true and correct to the best of my knowledge, except for any allegation claimed to

be upon information and belief.

 

 

Michael Dardashtian, Individually and on behalf of
Plaintiffs Cooper Square Ventures, LLC,
ChannelReply and NDAP, LLC

Signed and Sworn to
before me this Y* day
of June 2017

Hin ffs

TANIA JEAN BAPT
1ST,
Notary Public « State of New York
NO. 01466348837 :
6 Quatitied in Kings County
¥ Commission Expires Oct 3, 2020

  
  

 
 
   
   
        
 

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